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                                Camden County




                                                >



October 1, 2021
                             Case 2:21-cv-04328-KSM
                                                UNITED Document   1 Filed
                                                       STATES DISTRICT    10/01/21 Page 2 of 16
                                                                       COURT
                                                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                                          DESIGNATION FORM
                    (to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

                                                    Audubon, New Jersey 08106
Address of Plaintiff: ______________________________________________________________________________________________
                                                 Philadelphia, Pennsylvania 19106
Address of Defendant: ____________________________________________________________________________________________
                                                                   Philadelphia, Pennsylvania
Place of Accident, Incident or Transaction: ___________________________________________________________________________


RELATED CASE, IF ANY:

Case Number: ______________________________                     Judge: _________________________________                     Date Terminated: ______________________

Civil cases are deemed related when Yes is answered to any of the following questions:

1.     Is this case related to property included in an earlier numbered suit pending or within one year                         Yes                       No   ✔
       previously terminated action in this court?

2.     Does this case involve the same issue of fact or grow out of the same transaction as a prior suit                        Yes                       No   ✔
       pending or within one year previously terminated action in this court?

3.     Does this case involve the validity or infringement of a patent already in suit or any earlier
       numbered case pending or within one year previously terminated action of this court?
                                                                                                                                Yes                       No   ✔
4.     Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights                        Yes                       No    ✔
       case filed by the same individual?

I certify that, to my knowledge, the within case             is /   ●   is not related to any case now pending or within one year previously terminated action in
this court except as noted above.
      10/01/2021
DATE: __________________________________                     ____________                                     _________                     38716
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                                   Attorney I.D. # (if applicable)


CIVIL: 3ODFHD¥LQRQHFDWHJRU\RQO\

A.            Federal Question Cases:                                                      B.    Diversity Jurisdiction Cases:

       1.     Indemnity Contract, Marine Contract, and All Other Contracts                       1.    Insurance Contract and Other Contracts
       2.     FELA                                                                               2.    Airplane Personal Injury
       3.     Jones Act-Personal Injury                                                          3.    Assault, Defamation
       4.     Antitrust                                                                          4.    Marine Personal Injury
       5.     Patent                                                                             5.    Motor Vehicle Personal Injury
       6.     Labor-Management Relations                                                         6.    Other Personal Injury (Please specify): _____________________
       7.     Civil Rights                                                                       7.    Products Liability
       8.     Habeas Corpus                                                                      8.    Products Liability – Asbestos
       9.     Securities Act(s) Cases                                                       ✔    9.    All other Diversity Cases
       10.    Social Security Review Cases                                                             (Please specify): ____________________________________________
                                                                                                                                      42 U.S.C. § 1983
       11.    All other Federal Question Cases
              (Please specify): ____________________________________________



                                                                            ARBITRATION CERTIFICATION
                                                  (7KHHIIHFWRIWKLVFHUWLILFDWLRQLVWRUHPRYHWKHFDVHIURPHOLJLELOLW\IRUDUELWUDWLRQ

               Alan L. Yatvin
I, ____________________________________________, counsel of record or pro se plaintiff, do hereby certify:

              Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
              exceed the sum of $150,000.00 exclusive of interest and costs:

     ✔        Relief other than monetary damages is sought.


      10/01/2021
DATE: __________________________________                     ____________                                     _________                     38716
                                                                                                                              ___________________________________
                                                                         Attorney-at-Law / Pro Se Plaintiff                               Attorney I.D. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

Civ. 609 (/2018)
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POLICE INSPECTOR JOSEPH BOLOGNA,
POLICE OFFICER LEZLIE WINTERS, and
THE CITY OF PHILADELPHIA




     October 1, 2021          Alan L. Yatvin


                                                           a.yatvin@gpfflaw.com
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                    IN THE UNITED STATES DISTRICT COURT FOR
                      THE EASTERN DISTRICT OF PENNSYLVANIA
_______________________________________
CAYLEY COHAN,                                :
43 North White Horse Pike, Audubon, NJ 08106 :  CIVIL ACTION NO.
                                             :
               Plaintiff,                    :
                                             :
               v.                            :
                                             :
INSPECTOR JOSEPH BOLOGNA, #552               :
P/O LEZLIE WINTERS, #7228                    :
CITY OF PHILADELPHIA,                        :
c/o Law Department                           :
City of Philadelphia                         :
1515 Arch Street                             :
Philadelphia, PA 19102-1595                  :
                                             :
               Defendants.                   :


                                           COMPLAINT

                                   JURISDICTION & VENUE

       1.      This Court has original jurisdiction over the subject matter of this Complaint

under 42 U.S.C. § 1983 and 28 U.S.C. §§ 1331, 1343(a)(3), and 1343(a)(4).

       2.      Venue is appropriate in this judicial district pursuant to 28 U.S.C. § 1391(b)

as all material acts and omissions giving rise to this action occurred here within.

                                             PARTIES

       3.      Plaintiff Caylee Cohan is a resident of the State of New Jersey, at the address set

forth in the caption.

       4.      Defendant Joseph Bologna was at all relevant times a supervisor in the Philadelphia

Police Department (“PPD”). He is being sued in his individual capacity.

       5.      Defendant Winters was at all relevant times a Philadelphia Police Officer. She is

being sued in her individual capacity.

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         6.      Defendant C it y of Philadelphia is a political subdivision of the Commonwealth

of Pennsylvania. The City’s Offices and Agencies include the PPD, which is and was responsible

for screening, hiring, training, supervising, and disciplining its agents/servants/employees,

including the individual Defendants.

         7.      The Defendants names, addresses and badge numbers are set forth in the caption of

this Complaint.

         8.      At all relevant times, all Defendants were acting under color of state law.

         9.      At all relevant times, the actions taken by all Defendants deprived Plaintiff of her

constitutional and statutory rights.

         10.     At all relevant times, the individual Defendants were acting in concert and

conspiracy and their actions deprived Plaintiff of her constitutional and statutory rights.

                                   FACTUAL ALLEGATIONS

         11.     Ms. Cohan went into Center City Philadelphia with her friend Grace Donahue on

June 2, 2020 to take part in a protest of police brutality in the wake of George Floyd’s death a week

prior.

         12.     While walking with other protestors at Tenth and Market Streets, Ms. Cohan

brushed her foot against Inspector Bologna’s front bicycle tire.

         13.     Ms. Cohan continued walking past Inspector Bologna.

         14.     Inspector Bologna grabbed Ms. Cohan by her right arm, pulling her back, and said

“Don’t touch my bike.”

         15.     Ms. Cohan responded, “Fuck you, I didn’t touch your bike” as she backed away

from him.

         16.     Inspector Bologna immediately tossed his bike into a group of protestors and


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jumped onto Ms. Cohan, tackling her to the street.

          17.   At no point during this incident was Inspector Bologna justified to use force upon

Ms. Cohan.

          18.   Ms. Cohan broke her right wrist on May 31, 2020 and was wearing a cast under her

sweatshirt.

          19.   Ms. Cohan suffered cuts and bruises on her legs as a result of Inspector Bologna’s

attack.

          20.   Officer Winters Inspector Bologna, and other unknown officers, unlawfully

arrested Ms. Cohan.

          21.   During the unlawful arrest of Ms. Cohan the cast on her wrist was removed.

          22.   Officer Winters handcuffed Ms. Cohan and brought her to a police van.

          23.   Officer Winters excessively and unreasonably tightened the handcuffs solely for

the purposes of hurting and punishing Ms. Cohan.

          24.   While in the van Ms. Cohan told Officer Winters that she had recently broken her

wrist and the handcuffs were too tight, causing her pain and to lose feeling and circulation in her

hands and arms. Officer Winters refused to respond Ms. Cohan’s immediate medical need.

          25.   Approximately ten minutes later, Ms. Cohan’s handcuffs were loosened by

unknown officers after she continued complaining about her pain.

          26.   Ms. Cohan was taken to a holding facility in Northeast Philadelphia where she

vomited twice due to anxiety and dehydration. She was held there for approximately nineteen hours

and was repeatedly denied water until two to three hours after vomiting multiple times.

          27.   In an attempt to provide a justification for both Inspector Bologna’s and her own

actions, Defendant Winters provided a false statement to Detective Przybylowski in which she


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claimed that Ms. Cohan kicked her multiple times both when she intervened when Ms. Cohan was

kicking Inspector Bologna’s bike and as she was handcuffing Ms. Cohan.

         28.   Defendant Winters further falsely stated that Ms. Cohan spat on her cheek.

         29.   On June 3, 2020, Ms. Cohan was moved to another holding facility in Center City

Philadelphia located at 8th and Race where she was held for another seventeen hours until she was

preliminarily arraigned and released from custody the morning of June 4, 2020.

         30.   Ms. Cohan was charged with felony aggravated assault, simple assault, and

disorderly conduct.

         31.   There was no probable cause for any of these charges. Ms. Cohan did not hit, strike,

spit upon, or in any way assault anyone.

         32.   As the Pennsylvania Supreme Court held more than twenty years ago, a single

epithet spoken to a police officer is not disorderly conduct. Commonwealth v. Hock, 728 A. 2d 943

(Pa. 1999); see also Johnson v. Campbell, 332 F.3d 199, 213-14 (3d Cir. 2003) “… swear words,

spoken to a police officer, do not provide probable cause for an arrest for disorderly conduct

because the words, as a matter of law, are not ‘fighting words.’”).

         33.   Plaintiff was represented in the criminal matter by Attorney Max G. Kramer, who

she paid $1,000.00 for legal representation on the false charges.

         34.   Attorney Kramer subsequently presented the District Attorney’s Office with video

evidence proving that Plaintiff was innocent of the charges.

         35.   On July 27, 2020, at the fourth court hearing on this matter, the Commonwealth

withdrew all charges against Ms. Cohan, thereby causing the criminal matter to be resolved in her

favor.




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        Inspector Bologna’s Record of Civil Rights Violations

        36.      On June 1, 2020, Inspector Bologna struck Temple University student Evan Gorski

in the head with his baton.

        37.      This incident was witnessed firsthand by many members of the Philadelphia Police

Department and on video from both fellow officers’ body worn cameras and non-officers present

during the protest.

        38.      Like the attack on Ms. Cohan, Inspector Bologna’s strike of Mr. Gorski’s head,

which required ten staples, was unprovoked, occurred during a protest and led to “cover charges”

on Mr. Gorski that were later dropped when video of the incident was reviewed by the Philadelphia

District Attorney’s Office.

        39.      PPD Supervisors of Inspector Bologna, including the Police Commissioner were

aware of this incident, yet they retained him on active duty and returned him to the street on the

next day, when he used unreasonable force against Ms. Cohan.

        40.      The City of Philadelphia willfully disregarded the risk that Inspector Bologna

would again use unreasonable force on a peaceful protestor by assigning Inspector Bologna to

supervise the rally the next day on June 2, 2020, thereby directly leading to his use of unreasonable

force upon Ms. Cohan.

        41.      On June 8, 2020, Inspector Bologna was arrested and charged with assault and

possessing an instrument of crime arising from the incident with Evan Gorski. 1

        42.      Well before Inspector Bologna’s assault upon Mr. Gorski however, the City of

Philadelphia was aware of Inspector Bologna’s history of violation citizens’ civil rights.

        43.      Despite this knowledge, instead of properly disciplining him, Inspector Bologna


1
 As of the filing of this Complaint the charges against Inspector Bologna, under docket number MC-51-CR-
0011373-2020, have a trial date of March 15, 2022.
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was continually promoted, receiving explicit approval for his misconduct.

        44.      These violations are well documented in both newspaper articles and civil

complaints:

              a. On August 22, 2016, The Philadelphia Inquirer published an article regarding

                 illegal raids on convenience stores performed by a unit of four PPD narcotics

                 officers under Inspector Bologna’s supervision wherein Inspector Bologna can be

                 observed directing an officer to cut a store’s surveillance camera. 2 Then PPD

                 Commissioner Charles Ramsey stated that he couldn’t think of any official reason

                 for police officers to cut camera wires. Six store owners and workers, including the

                 owner of the store wherein the video footage of Inspector Bologna directing a

                 subordinate officer to dismantle a camera, made allegations that their surveillance

                 cameras were destroyed and that their stores had money and merchandise seized by

                 these officers.

              b. On April 24, 2014, The Philadelphia Inquirer published an article regarding

                 Inspector Bologna and the same four officers under his command: Jeffrey Cujdik,

                 Richard Cujdik, Thomas Tolstoy and Robert McDonnell Jr. 3 Per then

                 Commissioner Ramsey, Internal Affairs “sustained several of the allegations, and

                 we are in the process now of going through the charging process – the internal

                 review for discipline against the accused officers.” Inspector Bologna, who was a



2
 Wendy Ruderman et al., Video sharpens focus on raid, The Philadelphia Inquirer (August 22, 2016), available at,
https://www.inquirer.com/philly/news/special_packages/20090330_Video_sharpens_focus_on_raid.html
3
 Mike Newall et al., No criminal charges for four Philly officers in ‘Tainted Justice’ cases, The Philadelphia
Inquirer (April 24, 2014), available at,
https://www.inquirer.com/philly/news/20140425_No_criminal_charges_for_narcotics_officers_in__Tainted_Justice
__series.html

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    Captain at the time, was found to have failed to properly supervise Officer Richard

    Cujdik as he was present when Officer Cujdik improperly searched a car without a

    warrant. As stated in the article, the City of Philadelphia settled thirty-three lawsuits

    totaling $1.7 million related to alleged misconduct on behalf of Inspector Bologna

    and officers he supervised. Some of the lawsuits in which Inspector Bologna is a

    named defendant are listed below:

 c. Plaintiffs Joseph and Tamara Marcolongo, in civil action No. 09-cv-03554-TON,

    alleged that then Lieutenant Bologna with his fellow officers entered plaintiffs’

    home, punched Mr. Marcolongo in the face, took money from plaintiffs and falsely

    claimed they found illegal narcotics in their home.

 d. Plaintiffs Juan Collado-Gomez and Josephina Fortuna, in civil action No. 09-cv-

    03911-TON alleged then Lieutenant Bologna and officers under his command

    raided his convenience store, restrained himself and an employee, cut all

    surveillance cameras operating in the store, took money from the cash register and

    from Mr. Collado-Gomez’s person and his apartment directly above the store, took

    cigarettes and other items from the store and prepared a false Affidavit of Probable

    Cause to justify their illegal actions.

 e. Plaintiff Antonio Lanzara, in civil action No. 09-cv-04071-TON, alleged that

    Jeffrey Cujdik and Robert McDonnell Jr., then Sergeant Bologna’s supervision,

    provided a false affidavit of probable cause used to search his property. Further,

    Plaintiff Lanzara’s alleges that through a series of articles published in the Daily

    News on or about February 2009 he discovered that the Confidential Informant

    Ventura Martinez publicly attested that he was paid large sums of money by Officer


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    Cujdik to provide false information to in sworn statements to justify illegal

    searches.

 f. Plaintiff Jose Duran, in civil action No. 09-cv-04120-TON, alleged that then

    Sergeant Bologna, in concert and conspiracy with officers under his command,

    provided a false affidavit of probable cause to justify a search of the store he owned

    and operated. They also destroyed and seized video surveillance from his store

    without cause or justification and caused Mr. Duran to be unlawfully arrested,

    detained and prosecuted by providing knowingly false information.

 g. Plaintiff Emilio Vargas, in civil action No. 09-cv-05627-TON, alleged that then

    Sergeant Bologna, acting in concert and conspiracy with officers he supervised,

    disregarded proper police practices regarding the use of confidential informants in

    conducting an illegal search of the store Mr. Vargas managed, and destroyed and

    seized video surveillance equipment from the store without cause or justification.

    Further, Mr. Vargas alleges that the Defendant Officers stole his money and

    merchandise during the illegal search of his store.

 h. Plaintiff Robert Daily, Jr., in civil action No. 09-cv-06216-TON, alleged that

    Defendant Bologna, with Defendant officers he was supervising, illegally seized

    his money and other property, used unreasonable force upon him, and provided

    false information from confidential informant #103, Ventura Martinez, which was

    later recanted by Mr. Martinez, to justify their search and maliciously prosecute Mr.

    Daily with narcotics offenses.

 i. Inspector Bologna was also sued for civil rights violations before he supervised the

    narcotics unit which was the subject of the ten-month series of articles titled


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                ‘Tainted Justice’ by Barbara Laker and Wendy Ruderman for which they received

                a 2010 Pulitzer Prize, both of which were settled by the City of Philadelphia.

             j. Plaintiff Neftali Ramos Reyes, in civil action No. 05-2775, alleged that then

                Sergeant Joseph Bologna, along with his fellow officers, caused Mr. Reyes severe

                injuries from repeatedly kicking and beating him without cause during an arrest on

                the 4600 block of G Street in Philadelphia.

             k. Plaintiffs Brandon Banks and Brittany Albitz, in civil action No. 04-cv-01052-JS

                alleged that Defendant Bologna, along with other Defendant officers, punched

                Plaintiff Banks in the face conducted an unjustified search of their home, brought a

                drug suspect into their home, commenced a violent of interrogation of the suspect,

                and left without bringing charges against Plaintiffs.

       45.      The actions and conduct of Defendants Bologna and Winters were willful, wanton,

malicious, intentional, outrageous, deliberate and/or so egregious as to shock the conscience.

       46.      As a direct and proximate result of the actions and inactions of the Defendants,

jointly and severally, Ms. Cohan suffered damages as follows:

             a. Physical pain and suffering;

             b. Fear and mental anguish;

             c. Unlawful detention;

             d. Medical expenses;

             e. Legal expenses;

             f. Violation of her right to be free of unreasonable force;

             g. Violation of her right to be free of arrest without probable cause;

             h. Violation of her right to free speech;


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              i. Violation of her right to be free of deliberate indifference to her serious medical

                 need.

                                       CAUSES OF ACTION

                                            COUNT 1
                          Plaintiff v. Defendants Bologna and Winters
                      Federal Civil Rights Violations Under 42 U.S.C. § 1983


       47.       Ms. Cohan hereby incorporates by reference all of the foregoing and further alleges

as follows:

       48.       Defendants Bologna and Winters caused the unreasonable use of force against

Plaintiff in violation of Plaintiff’s right to be free from the use of such force under the Fourth

Amendment to the U.S. Constitution.

       49.       As a direct and proximate result of the conduct of Defendants Bologna and Winters,

committed under color of state law, Ms. Cohan was deprived of her rights to be free from the

unreasonable use of force, to be free of unreasonable seizure of her person, to be free of false arrest,

to be protected, to be free of prosecution without probable cause, to freedom of speech, to be secure

in her person and property, to not suffer deliberate indifference to her serious medical needs, to be

free of punishment without due process, and to equal protection of the law. As a result, Ms. Cohan

suffered harm, in violation of her rights under the laws and Constitution of the United States, in

particular the First, Fourth and Fourteenth Amendments thereof, and 42 U.S.C. §1983.

       50.       The conduct of Defendants Bologna and Winters constituted the constitutional

violations of unreasonable force, false arrest, malicious prosecution, failure to protect, denial of

free speech, cruelty and punishment, deliberate indifference to serious medical need.

       51.       As a direct and proximate result of the actions and conduct of Defendants Bologna

and Winters, Ms. Cohan sustained damages as set forth above.

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       52.       Ms. Cohan is entitled to her attorney’s fees and costs of prosecution of this suit,

pursuant to 42 U.S.C. § 1988.

       53.       Ms. Cohan is entitled to punitive damages.

                                              COUNT 2
                             Plaintiff v. Defendant City of Philadelphia
                                           42 U.S.C. § 1983


       54.       Ms. Cohan hereby incorporates by reference all of the foregoing and further alleges

as follows:

       55.       Defendant City of Philadelphia has encouraged, tolerated, ratified and has been

deliberately indifferent to a pattern and practice, and to the need for more or different training,

supervision, investigation or discipline of Defendant Bologna, in violating the civil rights of

citizens like Ms. Cohan, which caused Defendant Bologna to commit the violations alleged herein.

       56.       Defendant City of Philadelphia has encouraged, tolerated, ratified and has been

deliberately indifferent to a pattern, practice and custom of, and to the need for more or different

training, supervision, investigation or discipline in the areas of:

              a. The proper exercise of police powers, including improper arrests, detentions,

                 retaliation, and the unreasonable use of force;

              b. The use of force and arrest powers to punish civilians for their exercise of lawful

                 speech;

              c. The punitive use of restraint devices, including handcuffs;

              d. The giving of false statements and bringing false cover charges to retaliate and

                 conceal misconduct;

              e. The failure of other officers present to intervene to prevent other officers who are

                 engaging in misconduct and violating civilian’s rights;

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             f. The failure of other officers to come forward and report information regarding other

                officers who are engaging in misconduct and violating civilian’s rights, otherwise

                known as the Blue Wall of Silence;

             g. The deliberate indifference of officers to immediate medical need of persons in their

                custody or control.

       57.      The aforesaid conduct caused the violations of Ms. Cohan’s rights as alleged herein.

       58.      By these actions, Defendant City of Philadelphia deprived Ms. Cohan of her rights

secured by the First, Fourth and Fourteenth Amendments to the United States Constitution in

violation of 42 U.S.C. §1983.

       59.      As a direct and proximate result of the actions and conduct of Defendant City of

Philadelphia, Ms. Cohan sustained damages as set forth above.

       60.      Ms. Cohan is entitled to her attorney’s fees and costs of prosecution of this suit,

pursuant to 42 U.S.C. § 1988.

                                         JURY DEMAND

       61.       Plaintiff demands a trial by jury as to each Defendant and as to each cause of action

and claim.

       WHEREFORE, Plaintiff demands judgment against each defendant, jointly and severally,

as to each count, along with costs, attorney’s fees, interest, punitive damages as to the individual

defendants, and such other and further relief as the Court may deem just and proper.



                                                       GREENBLATT, PIERCE,
                                                       FUNT AND FLORES, LLC

DATE: October 1, 2021
                                                       Alan L. Yatvin, Esquire
                                                       Noah S. Cohen, Esquire
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                                  Attorneys for Plaintiff




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